

People v Hall (2017 NY Slip Op 06846)





People v Hall


2017 NY Slip Op 06846


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017

PRESENT: CARNI, J.P., DEJOSEPH, CURRAN, TROUTMAN, AND WINSLOW, JJ. (Filed Sept. 29, 2017.) 


MOTION NO. (239/11) KA 10-00023.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vWILLIE HALL, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








